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                               UNITED STATES JUDICIAL PANEL
                                            on                                       02/06/13
                                MULTIDISTRICT LITIGATION
                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                                       sb
                                                                                   BY: ___________________ DEPUTY
IN RE: HYUNDAI AND KIA FUEL
ECONOMY LITIGATION                                                                          MDL No. 2424

                                             MASTER
                                         TRANSFER ORDER



        Before the Panel: Pursuant to 28 U.S.C. § 1407, plaintiff in the Central District of California
Krauth action seeks centralization of the actions listed on Schedule A in the Central District of
California. The plaintiff’s motion encompasses twelve actions pending in five districts.1

        This litigation concerns the marketing, sale and advertising of the mileage estimates of Hyundai
and Kia vehicles. Defendants Hyundai Motor America (Hyundai) and Kia Motors America, Inc. (Kia),
as well as plaintiffs in the Central District of California Graewingholt action and the Central District of
California Olson potential tag-along action support the motion.

        Plaintiffs in the Central District of California Wilton action support centralization in the Central
District of California but suggest that the Panel order the transferee court to establish a separate motion
and discovery track for Kia-only cases. Alternatively, these plaintiffs request exclusion of Kia-only cases
from this MDL or creation of a separate Kia-only MDL.

        Several parties offer limited opposition to centralization. Plaintiffs in the Central District of
California Hunter and Brady actions, the Southern District of Ohio Sanders action and the Central
District of California Thomas and the Southern District of Florida Gordon potential tag-along actions2
support plaintiffs’ motion but request that the Panel exclude from the MDL the Central District of
California Espinosa action, as well as any other cases filed before defendants’ November 2, 2012,
announcement that they were restating the mileage estimates for numerous models. Plaintiffs in the
Espinosa action oppose centralization of their action and, alternatively, suggest that the actions be
centralized in the Central District of California.


   1
     The Panel has been notified of 22 additional related actions pending in twelve districts. These
actions and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1 and
7.2.
   2
     Plaintiffs in the Southern District of Florida Gordon potential tag-along action initially supported
centralization of all actions, but at oral argument changed their position to support exclusion of pre-
announcement cases. The Gordon plaintiffs alternatively suggest centralization in the Southern District
of Florida. Additionally, counsel for plaintiffs in Hunter and Brady took no position at oral argument
on the inclusion of Espinosa in the centralized proceedings.
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         On the basis of the papers filed and hearing session held, we find that these actions involve
common questions of fact, and that centralization under Section 1407 in the Central District of California
will serve the convenience of the parties and witnesses and promote the just and efficient conduct of this
litigation. These twelve putative nationwide class actions share factual questions arising from
defendants’ alleged false or misleading advertising regarding the mileage estimates for Kia and Hyundai
vehicles. Plaintiffs contend that defendants marketed the vehicles as having certain EPA mileage
estimates, but those estimates were either flawed in terms of (1) the calculation of the estimates as
admitted by defendants (at issue in most post-announcement cases) or (2) the adequacy of the
disclosures in the advertising (at issue most prominently in the pre-announcement cases). Centralization
will eliminate duplicative discovery; prevent inconsistent pretrial rulings, including with respect to class
certification; and conserve the resources of the parties, their counsel, and the judiciary.

        Whether to include the relatively procedurally advanced Central District of California Espinosa
action is a close call but, on balance, we are of the opinion that including it in the MDL will be of benefit
to both the action and to the litigation as a whole. There is significant factual overlap between the pre-
and post-announcement cases regarding the advertising of vehicle mileage estimates.3 Relatedly, the
Espinosa plaintiffs also have reportedly sought discovery regarding Hyundai’s calculation of its EPA
estimates. Finally, Espinosa appears to be not so far advanced as to preclude it benefitting from
centralization. While class certification has been argued, supplemental briefing is still underway, and
discovery into the merits of the Hyundai advertising at issue reportedly has not yet been conducted.

        The transferee judge (who already presides over Espinosa) is in the best position to incorporate
the slightly advanced Espinosa action in a manner that accommodates the progress already made in that
action while also addressing the issues raised in the more recently filed actions. It may be advisable to
establish a separate track of proceedings to address any common pre-announcement case issues, such
as discovery and motion practice; however, the degree of consolidation or coordination among the pre-
and post-announcement cases is a matter soundly dedicated to the discretion of the transferee judge.

         We will deny the request for an order establishing separate tracks for Kia-only classes. Similarly,
we will decline the invitation to create a separate MDL proceeding for cases solely against Kia. We do
so for several reasons. Both Hyundai and Kia defendants share a common parent, Hyundai Motor
Group, and both defendants support centralization. The alleged testing errors occurred at the same
alleged facility in Korea, and the November 2, 2012, announcement of the procedural errors in the
mileage estimates and launch of the related mileage reimbursement programs were made on behalf of
both defendants. Further, several actions are brought against both Hyundai and Kia. If the transferee
judge views establishing separate tracks for the different companies appropriate, then he can do so, but
that is also a matter dedicated to his discretion.




  3
     For instance, the Espinosa complaint contains a claim under California’s Unfair Competition Law,
asserting in part that defendant’s “compliance with the EPA testing standard itself is questionable” which
will necessarily be explored in all post-announcement cases.
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         We are of the opinion that the Central District of California is an appropriate transferee district
for this litigation. Indeed, all responding parties support centralization in this district, where defendants
are based and the majority of the actions have been filed. Judge George H. Wu is an experienced
transferee judge who presides over numerous actions pending in this district, including the first-filed and
most procedurally advanced Espinosa action. By presiding over Espinosa for over a year, Judge Wu
has become familiar with the contours of this litigation and is uniquely situated to steer this litigation on
a prudent course.

        IT IS THEREFORE ORDERED that pursuant to 28 U.S.C. § 1407, the actions listed on
Schedule A and pending outside the Central District of California are transferred to the Central District
of California and, with the consent of that court, assigned to the Honorable George H. Wu for
centralized pretrial proceedings with the actions listed on Schedule A and pending in that district.


                                        PANEL ON MULTIDISTRICT LITIGATION



                                        _________________________________________
                                                  John G. Heyburn II
                                                       Chairman

                                        Kathryn H. Vratil                W. Royal Furgeson, Jr.
                                        Paul J. Barbadoro                Marjorie O. Rendell
                                        Charles R. Breyer                Lewis A. Kaplan




                                           I hereby attest and certify on _________
                                                                           02/06/13
                                           that the foregoing document is full, true
                                           and correct copy of the original on file in
                                           my office, and in my legal custody.

                                           CLERK U.S. DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA

                                           DEPUTY CLERK
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IN RE: HYUNDAI AND KIA FUEL
ECONOMY LITIGATION                                                               MDL No. 2424


                                            SCHEDULE A


            Middle District of Alabama

     Alex Maturani v. Hyundai Motor America, Inc., C.A. No. 2:12-00998 2:13-CV-813

            Central District of California

     Kehlie R. Espinosa, et al. v. Hyundai Motor America, C.A. No. 2:12-00800
     Nicole Marie Hunter, et al. v. Hyundai Motor America, et al., C.A. No. 8:12-01909
     Jeremy Wilton v. Kia Motors America, Inc., et al., C.A. No. 8:12-01917
     Kaylene P. Brady, et al. v. Hyundai Motor America, et al., C.A. No. 8:12-01930
     Gunther Krauth v. Hyundai Motor America, C.A. No. 8:12-01935
     Eric Graewingholt, et al. v. Hyundai Motor America, Inc., et al., C.A. No. 8:12-01963
     Reece Thomson, et al. v. Hyundai Motor America, et al., C.A. No. 8:12-01981

            Northern District of Illinois

     Nilufar Rezai v. Hyundai Motor America, C.A. No. 1:12-09124 2:13-CV-814
     Jack Rottner v. Hyundai Motor America, C.A. No.1:12-09196 2:13-CV-815

            District of New Jersey

     Lydia Kievit, et al. v. Hyundai Motor America, C.A. No. 2:12-06999 2:13-CV-816

            Southern District of Ohio

     Rebecca Sanders, et al. v. Hyundai Motor Company, et al., C.A. No.1:12-00853 2:13-CV-817
